         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3309
                  LT Case No. 2018-CA-46895
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ROY LERCHENFELD,

    Appellant,

    v.

EQUITY TRUST, GREEN PLUS
INVESTMENTS, LLC, DAVID
ROSENTHAL SEP IRA,

    Appellee.
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On appeal from the Circuit Court for Brevard County.
George T. Paulk, Judge.

David A. Baker, of the Law Office of David A. Baker, P.A.,
Rockledge, for Appellant.

Heather L. Griffiths of the Padgett Law Group, Tallahassee, for
Appellee, Green Plus Investments, LLC, and Equity Trust f/b/o
David Rosenthal SEP IRA.

                             August 27, 2024

PER CURIAM.

    AFFIRMED.

EDWARDS, C.J., and LAMBERT and JAY, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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